Case 1:02-Cv-01111-.]P|\/|-egb Document 355 Filed 04/25/05 Page 1 of 3 Page|D 2609

":S._
IN THE UNITED sTATEs DISTRICT coUR'I' 57
FOR THE wESTERN DISTRICT oF TENNESSEE 95 ;i;@;q 25 1,_1;:;\,; h
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crs'~;}<;. u.:'~;-. mg . ;,‘T.

PHILLIP E. BOYNTON, et. al., W‘D' GFTN' *"'“""""P‘"“S

Plaintiffs,
v.

NO. 02-1111 Ml/An

HEADWATERS , INC . , et . al . ,

v`_r~._r~..u~_r'~..z-\_¢v-_r

Defendants.

 

ORDER RESETTING TRIAL SCHEDULE

 

The Court held a telephone Conference in this case on April
21, 2005. Plaintiffs Were represented by Jeffrey Greene, Esq.
Defendants were represented by Larry Laycock, Esq., R. Parrish
Freeman, Esq., Brien Davis, Esq., and Ed Wallis, Esq.

Pursuant to the discussion at the conference, the Court
hereby sets the following schedule in this case:
Trial: Tuesdav, Sentember 6, 2005, at 9:00 a.m.
Pretrial Conference: Thursdav, September ll 2005, at 9:00 a.m.

Pretriel Order: Tuesdav, Auqust 23, 2005, bv 4:30 D.m.

so oRDERED this o@th day of April, 2005.

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J N P. MCCALLA
ITED STATES DISTRICT JUDGE

This document entered on the dock shea in com fiance
with Ru!e 58 and/or TQ(a) FRCP un__LZ_‘giQ§" "

 

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Honorable J on McCalla
US DISTRICT COURT

